Case 1:04-cr-20487-RKA Document 548 Entered on FLSD Docket 06/15/2010 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 08-20413-CIV-COOKE/WHITE

  ROODY LAGUERRE,

         Movant,

  v.

  UNITED STATED OF AMERICA,

        Respondent.
  ____________________________/

       ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

         This matter is before me on Judge’s White’s Report and Recommendation [D.E. 38] and

  Movant Roody Laguerre’s Objection to the Report [D.E. 39]. I have conducted a de novo review

  of the record, which included, inter alia: 1) Movant’s 28 U.S.C. § 2255 motion to vacate, set

  aside, or correct sentence [D.E. 1], including several supplements and amendments thereto [D.E.

  12 ], 2) Affidavits filed by Movant [D.E. 9; 13; 14], 3) Respondent’s response to the Motion

  [D.E. 16], 4) Movant’s reply to the response [D.E. 17], 5) the transcript of the evidentiary hearing

  held on January 7, 2010 [D.E. 40], 6) Judge White’s Report and Recommendation [D.E. 38], and

  7) Movant’s Objection to the Report [D.E. 39]. I agree with Judge White’s Report and

  Recommendation.


         Accordingly, I thereby ORDER AND ADJUDGE that United States Magistrate Judge

  Patrick A. White’s Report and Recommendation [D.E. 39] is AFFIRMED AND ADOPTED as

  follows:

         1. Movant’s Motion to vacate, set aside, or correct sentence is DENIED.
Case 1:04-cr-20487-RKA Document 548 Entered on FLSD Docket 06/15/2010 Page 2 of 2




         2. This case is CLOSED.

         DONE AND ORDERED in Chambers in Miami, Florida this 28th day of May 2010.




  Copies furnished to:
  The Honorable Patrick A. White
  All Counsel of Record
